      Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 1 of 10




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


JANE MILLER,                             :        NO.: 3:16-cv-00724 (VLB)
  Plaintiff                              :
                                         :
v.                                       :
                                         :
THOMAS DUNKERTON,                        :
  Defendant                              :        JULY 20, 2016

             DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF
              MOTION TO DISMISS / SUGGESTION OF MOOTNESS

I.    INTRODUCTION

      The plaintiff commenced this cause of action in the State of Connecticut

Superior Court for the judicial district of Danbury by way of a Complaint dated

April 27, 2016. Plaintiff alleges that on or about March 4, 2016, plaintiff applied to

become a member of the Brookfield Republican Party. The plaintiff further

alleges that on April 19, 2016, her name was improperly and unlawfully excluded

from the enrollment list of the Brookfield Republican Party by the registrar at the

time of the application, Defendant Thomas Dunkerton (“Dunkerton”). See Compl.

§§ 3-4.

      The plaintiff served a copy of the Summons and Complaint upon the

defendant on or about April 28, 2016. Upon receipt of the Complaint, the

defendant filed a timely notice of removal on May 13, 2016, on the basis that (1)

the above-described action is one which may be removed to the Court by the

petitioner or the undersigned defendant therein, pursuant to the provisions of 28

U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) in that the controversy involves a federal

question and the alleged denial of plaintiff’s rights under the First and Fourteenth
      Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 2 of 10




Amendments, and (2) specifically, the petitioner alleges that the plaintiff’s

constitutional rights were violated, including her right to due process of law and

her right to freedom of association.

      In her Complaint, the plaintiff alleges that the actions of the defendant,

Thomas Dunkerton, were improper and unlawful in that:

         a. Defendant conducted a hearing where the evidence presented was
            insufficient to permit exclusion of Petitioner pursuant to General
            Statutes § 9-60 et seq.

         b. The conduct of the proceedings violated Petitioner’s constitutional
            rights, including her rights to due process of law and freedom of
            association.

         c. The accepted standard for membership in the Brookfield Republican
            Party allows members to occasionally support members of other
            candidates registered with other parties.

         d. The action of the Defendant holds Petitioner to a standard not
            required by others.

See Compl. at pp. 1-2.

      By way of relief, the plaintiff requests a writ of mandamus or order

directing that Dunkerton place the name of the plaintiff on the enrollment list of

the Brookfield Republican Party. See Compl. at p. 3.

      On June 24, 1016, plaintiff filed a new application to become a member of

the Brookfield Republican Party. The current Republican Registrar, Ryan Murphy

accepted her application on July 19, 2016, and placed her name on the enrollment

list of the Republican Party. See Letter dated July 19, 2016 from Ryan Murphy to

plaintiff Jane Miller attached hereto as Exhibit A. Because plaintiff is now a

current member of the Brookfield Republican Party, her claims for relief are moot,

and should be dismissed.



                                          2
      Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 3 of 10




II.   STANDARD OF REVIEW

      In deciding a Rule 12(b)1 motion to dismiss for lack of subject matter

jurisdiction, the court is not limited to a review of the pleadings. See J.S. ex rel.

N.S. v. Attica Central Schools, 386 F.3d 107, 110 (2d Cir. 2004). “[T]he court may

resolve the disputed jurisdictional fact issues by referring to evidence outside the

pleadings, such as affidavits, and if necessary, hold an evidentiary hearing.”

Zappia Middle East Const. Co. Ltd. v. Emirate of Abu, 215 F.3d 247, 253 (2d Cir.

2000). Rule 12(b)(1) allows a defendant to “challenge either the legal or factual

sufficiency of the plaintiff’s assertion of jurisdiction, or both.” Robinson v.

Government of Malaysia, 269 F.3d 133, 140 (2d Cir. 2001). Where “the defendant

challenges only the legal sufficiency of the plaintiff’s jurisdictional allegations, …

the court must take all facts alleged in the complaint as true and draw all

reasonable inference in favor of plaintiff.” Id. (citations omitted.) Where, however,

there are disputed factual issues regarding the jurisdiction of the court, the court

must look to any submissions outside the complaint that are presented and

necessary to deciding the jurisdictional question. Id. at 141.

      Article III of the United States Constitution limits federal court jurisdiction

to live cases and controversies. See Lillbask ex rel. Mauclaire v. Conn.

Department of Education, 397 F. 3d 77,84 (2d Cir. 2005). If a claim becomes moot,

the court loses jurisdiction over the suit which necessarily must be dismissed. Id.

at 84, citing Russman v. Board of Education, 260 F. 3d 114, 1889-119 (2d Cir.

2001). Mootness deprives the Court of its power to act because there is nothing




                                           3
       Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 4 of 10




for it to remedy, even if inclined to do so. See Spencer v. Kemna, 523 U.S. 1, 18,

118 S.Ct. 978 (1998). “Simply stated, a case is moot when the issues presented

are no longer ‘live’ or the parties lack a legally cognizable interest in the

outcome.” Libertarian Party of Connecticut v. Bysiewicz, No. 3:08-CV-1513 (JCH),

2008 WL 5191834, at *1 (D. Conn. Nov. 20, 2008); quoting Powell v. McCormack,

395 U.S. 486, 496 (1969).

       A case is properly dismissed for lack of subject matter jurisdiction under

Rule 12(b)(1) when the district court lacks the statutory or constitutional power to

adjudicate it. Marakova v. United States, 201 F.3d 110, 113 (2d Cir. 2000). A

plaintiff generally has the burden of proving by a preponderance of the evidence

that jurisdiction exists. Id.

III.   LAW AND ARGUMENT

       A.     Plaintiff’s Claims For Relief Are Moot And Should Be Dismissed
              Because She Has Been Allowed Back Into The Republican Party

       The plaintiff’s claim for relief is moot because she is a current member of

the Brookfield Republican Party. See Exhibit A.

       The mootness doctrine, which is mandated by the “case or controversy”

requirement in Article III of the United States Constitution, requires that federal

courts may not adjudicate matters that no longer present an actual dispute

between parties.

              Since both Plaintiffs and Defendants agree that the State
              is no longer implementing the fiscal assessment laws,
              and there is no reason to expect that fiscal assessments
              are now occurring or that the legislature will reenact the
              laws, no controversy now exists with respect to this
              claim and it is therefore moot.” See Burke v. Barnes, 479
              U.S. 361, 363-64 (1987) (holding that, when a challenged



                                           4
      Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 5 of 10




             statute "by its own terms [becomes] a dead letter," the
             case becomes moot); cf. Assoc. Gen. Contractors of
             Conn., Inc. v. City of New Haven, 41 F.3d 62, 66-67 (2d
             Cir. 1994) (finding case moot where challenged city
             ordinance setting aside percentage of municipal
             contracts for minority businesses expired and Court
             could not reasonably expect city to reenact ordinance
             on same terms).

Catanzano v. Wing, 277 F.3d 99, 107 (2d. Cir. 2001).

      The Second Circuit has instructed that “The voluntary cessation of

allegedly illegal conduct usually will render a case moot if the defendant[s] can

demonstrate that (1) there is no reasonable expectation that the alleged violation

will recur and (2) interim relief or events have completely and irrevocably

eradicated the effects of the alleged violation.” American Freedom Defense

Initiative v. Metropolitan Transportation Authority, 109 F. Supp. 3d 626, 630

(S.D.N.Y. 2016), citing Granite State Outdoor Adver., Inc. v. Town of Orange,

Conn., 303 F.3d 450, 451 (2d Cir.2002) (per curiam) (quoting Campbell v.

Greisberger, 80 F.3d 703, 706 (2d Cir. 1996), abrogated on other grounds by Green

v. Mattingly, 585 F.3d 97 (2d. Cir. 2009) (internal quotation marks omitted)); see

also Lamar Adver. of Penn., LLC v. Town of Orchard Park, New York, 356 F.3d

365, 375–76 (2d Cir. 2004). “While a defendant’s ‘voluntary cessation of a

challenged practice does not deprive a federal court of its power to determine the

legality of the practice,’ it is nonetheless ‘an important factor bearing on the

question whether a court should exercise its power’ to entertain a request for

injunctive relief or declare it moot.” Id., citing Holland v. Goord, 758 F.3d 215, 223

(2d Cir. 2014) (quoting City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289,

102 S.Ct. 1070, 71 L.Ed.2d 152 (1982)).



                                          5
      Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 6 of 10




      The Second Circuit in Granite State Outdoor Advertising v. Town of

Orange, 303 F.3d 450 (2d Cir. 2002) found that because the Town amended the

challenged regulations regarding the location of billboards, the plaintiff’s

requested injunction was properly denied as moot. Id. at 452.

      The same logic applies here. The defendant has allowed plaintiff back into

the Brookfield Republican Party. Therefore, the plaintiff’s claims for injunctive

relief are moot. “If an event occurs when a case is pending…that makes it

impossible for the court to grant any effectual relief whatever to a prevailing

party, we must dismiss the case, rather than issue an advisory opinion.”

Libertarian Party of Connecticut v. Bysiewicz, 2008 WL 5191834, at *1; quoting

Coleman v. Newburgh Enlarged City Sch. Dis., 503 F.3d 198, 204 n. 8 (2d Cir.

2007) (quoting ABC, Inc. v. Stewart, 360 F.3d 90, 97 (2d Cir. 2004).

      In Campbell v. Greisberger, 80 F.3d at 706, the plaintiff challenged a

question on the state’s bar application concerning mental health and chemical

dependency treatment as violative of the ADA. State officials withdrew the

mental health question from the application for bar admission. The District Court

determined that the plaintiff’s request for an injunction was moot, and the Second

Circuit affirmed the dismissal on the grounds of mootness. Id.

      The Second Circuit reaffirmed these principles when it found, once again,

that a case was moot because the challenged state law was no longer in effect

and there was no reasonable prospect that it would be reenacted. Catanzano v.




                                          6
       Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 7 of 10




Wing, 277 F.3d 99. 1 Catanzano succinctly summarized the applicable law on

mootness:

              The mootness doctrine, which is mandated by the "case
              or controversy" requirement in Article III of the United
              States Constitution, requires that federal courts may not
              adjudicate matters that no longer present an actual
              dispute between parties. . . . Since both Appellants and
              Appellees agree that the State is no longer
              implementing the fiscal assessment laws, and there is
              no reason to expect that fiscal assessments are now
              occurring or that the legislature will reenact the laws, no
              controversy now exists with respect to this claim and it
              is therefore moot. See Burke v. Barnes, 479 U.S. 361,
              363-64 (1987) (holding that, when a challenged statute
              "by its own terms [becomes] a dead letter," the case
              becomes moot); cf. Assoc. Gen. Contractors of Conn.,
              Inc. v. City of New Haven, 41 F.3d 62, 66-67 (2d Cir. 1994)
              (finding case moot where challenged city ordinance
              setting aside percentage of municipal contracts for
              minority businesses expired and Court could not
              reasonably expect city to reenact ordinance on same
              terms).

Id. at 107.

       In the matter of National Advertising Co. v. City and County of Denver, 912

F.2d 405 (10th Cir. 1990), a billboard advertising company brought suit seeking a

declaratory judgment, injunctive relief, and damages stemming from Denver’s

sign ordinance. Id. at 407. After plaintiff’s suit was filed, Denver passed a new

sign ordinance that repealed the old ordinance. Id. at 407-08. The District Court



1
  Without analyzing the issue, the Court in Catanzano applied de novo review to
the question of mootness. See id. at 107. Nevertheless, nothing in the opinion
indicates that the Court intended to overrule its long line of cases holding that
where a district court dismisses a case as moot based on the voluntary action of
the defendant, its decision is reviewed for abuse of discretion. See e.g., Lee v.
Commissioner, 155 F.3d 584, 587 (2d Cir. 1998) (noting that a prior decision of
the Court may not be overruled absent an in banc decision to do so).



                                          7
      Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 8 of 10




held that plaintiff’s “requests for declaratory and injunctive relief arising from the

unconstitutionality of the old ordinance were mooted by its repeal.” Id. at 408.

The Tenth Circuit affirmed. A unanimous panel held that:

             [T]he district court was correct in dismissing [plaintiff’s]
             claims for prospective relief as moot. Federal court
             jurisdiction depends on the existence of a case or
             controversy admitting of specific relief through a decree
             of a conclusive character, as distinguished from an
             opinion advising what the law would be upon a
             hypothetical state of facts. The controversy must exist
             at all stages of the proceedings, not merely at the time
             the complaint is filed. The relief sought must be capable
             of addressing the alleged harm. . .. At the time the
             district court held the claims moot, the new ordinance
             had been enacted and the old ordinance repealed. A
             declaratory judgment on the validity of a repealed
             ordinance is a textbook example of advising what the
             law would be upon a hypothetical state of facts.

Id. at 411 (citations and internal quotations omitted; emphasis added).

      Although courts have been reluctant to find cases moot when there is

evidence that the challenged restriction may arise again in the future, this claim is

not valid in the instant matter. Plaintiff can point to no evidence that the new

Republican Registrar would have any interest in removing Ms. Miller from the

enrollment list, having placed her on the list as of July 19, 2016. Without such

evidence, there is simply no basis for entertaining a challenge to moot

regulations or restrictions. See Massachusetts v. Oakes, 491 U.S. 576, 582, 109

S.Ct. 2633 (1989).




                                          8
       Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 9 of 10




III.   CONCLUSION

       Accordingly, plaintiff’s claims should be dismissed as moot.


                                       DEFENDANT,
                                       THOMAS DUNKERTON


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                                        9
     Case 3:16-cv-00724-AWT Document 26-1 Filed 07/20/16 Page 10 of 10




                                 CERTIFICATION

       This is to certify that on July 20, 2016, a copy of the foregoing
Memorandum of Law in Support of Motion to Dismiss was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.


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                                        /s/ Katherine E. Rule
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                                        10
